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                      Exhibit 16
        FILED UNDER SEAL
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Protected - Subject to Further Protective Review

                                                                          Page 1
   IN THE UNITED STATES DISTRICT COURT

  FOR THE EASTERN DISTRICT OF LOUISIANA

                 -    -    -


 IN RE: XARELTO         :       MDL NO. 2592
 (RIVAROXABAN) PRODUCTS :
 LITIGATION             :       SECTION L
                        :
 THIS DOCUMENT RELATES :        JUDGE ELDON
 TO ALL CASES           :       E. FALLON
                        :
                        :
                        :       MAG. JUDGE
                        :       NORTH


                  -    -    -

            December 14, 2016

                  -    -    -

               - PROTECTED -

- SUBJECT TO FURTHER PROTECTIVE REVIEW -


             Videotaped deposition of
HENRY MICHAEL RINDER, M.D., taken
pursuant to notice, was held at the law
offices of Douglas & London, 59 Maiden
Lane, New York, New York, beginning at
8:09 a.m., on the above date, before
Michelle L. Gray, a Registered
Professional Reporter, Certified
Shorthand Reporter, Certified Realtime
Reporter and Notary Public.

                 -    -    -

        GOLKOW TECHNOLOGIES, INC.
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             deps@golkow.com




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                                                                              Page 2
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                                                                              Page 3
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                Henry Marte
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                                                                            Page 10
 1
                 Q.       This is the report that you
 2
      prepared in this litigation dated --
 3
      dated October 14, 2016?
 4
                 A.       Yes, that's correct.
 5
                 Q.       And one of your opinions,
 6
      and I'll point you to Page 14, if you
 7
      want to look at it, is that patients who
 8
      are taking Xarelto who have a PT of
 9
      greater than 20 seconds should be
10
      discontinued from taking Xarelto; is that
11
      right?
12
                 A.       With the caveat that this PT
13
      ideally should be using the Neoplastine
14
      reagent for that laboratory test and
15
      collected in the 13 to 15-hour window
16
      after dosing.
17
                 Q.       But with that caveat, you
18
      believe the patients taking Xarelto who
19
      have a PT of greater than 20 seconds
20
      should be discontinued from their Xarelto
21
      use, right?
22
                          MR. DENTON:         Objection to
23
                 form.      Asked and answered.
24
                          THE WITNESS:          I think that a

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                                                                          Page 437
 1
 2
                             CERTIFICATE
 3
 4
 5
                   I HEREBY CERTIFY that the
      witness was duly sworn by me and that the
 6
      deposition is a true record of the
      testimony given by the witness.
 7

                   It was requested before
 8
      completion of the deposition that the
      witness, HENRY MICHAEL RINDER, M.D., have
 9
      the opportunity to read and sign the
      deposition transcript.
10
11

                 __________________________________
12
                 MICHELLE L. GRAY,
                 A Registered Professional
13
                 Reporter, Certified Shorthand
                 Reporter, Certified Realtime
14
                 Reporter and Notary Public
                 Dated: December 15, 2016
15
16
17
                   (The foregoing certification
18
      of this transcript does not apply to any
19
      reproduction of the same by any means,
20
      unless under the direct control and/or
21
      supervision of the certifying reporter.)
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